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   8                      UNITED STATES DISTRICT COURT

   9                     CENTRAL DISTRICT OF CALIFORNIA

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  11
       JOHN DOE 1; et al.,                      CV 20-5554-RSWL-AGR
  12
  13                  Plaintiffs,               ORDER re: Plaintiffs’
                                                Motion to Remand [44]
  14         v.
  15
       UNITED AIRLINES, INC.; et
  16   al.,
  17                  Defendants.
  18
  19
  20         Currently before the Court is a Motion to Remand

  21   (“Motion”) [44] filed by Plaintiffs John Doe 1 and John

  22   Doe 2 (“Plaintiffs”) on November 12, 2021.                 Defendant

  23   United Airlines submitted a Notice of Non-opposition

  24   [45] to the Motion on November 23, 2021.                 Having

  25   reviewed all papers submitted pertaining to the Motion,

  26   the Court NOW FINDS AND RULES AS FOLLOWS: the Court

  27   GRANTS the Motion.         This matter is hereby remanded to

  28   The Superior Court of California, County of Los Angeles,


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   1   and all matters currently scheduled in this federal
   2   action are taken off calendar.
   3
   4   IT IS SO ORDERED.
   5
   6
   7   DATED: December 1, 2021            ___________________________
                                             /s/ Ronald S.W. Lew
                                           HONORABLE RONALD S.W. LEW
   8
                                           Senior U.S. District Judge
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